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The United States District Court

For The Eastern District of Michigan

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U.S. Courthouse NOV ~ § 2019

231 W. Lafayette Blvd. ” » BERR

Detroit, Michigan 48226

The Shane Group, Inc.et al, Case No. 2:10-cv-14360-DPH-MK-M
Plaintiffs, Judge Denise Page Hood

v. Bue Cross Blue Shield of Michigan,

Defendant .

MOTION FOR LEAVE TO PROCEED IN FORMA PAUPERIS

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Objector requests leave to proceed in forma pauperis. The balance of the documents
that go with this document are already in the building. There has been no follow up

from anyone since the clerk received them eleven days ago. .

I hereby certify under penalty of perjury that all of the above is true and accurate to the

best of my knowledge.

     

Christopher Andrews, Pro se objector P.O. Box 530394 Livonia, MI 48153-0394

T. 248-635-3810 E. caaloa@gmail.com Dated November 05, 2019

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Case 2:10-cv-14360-DPH-MKM ECF No. 375 filed 11/06/19 PagelD.19067 Page 3of5

Certificate of Service

I hereby certify under penalty of perjury that on this day November 04, 2019 sent two
copies to the clerk of the court by Priority Mail. Copies were sent to the parties below

by first class mail.

Christopher Andrews, Pro se objector, P.O. Box 530394 Livonia, MI 48153-0394

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Attention; Daniel Hedlund
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Minneapolis, MN 55402

Todd Stenerson
Sherman & Sterling
401 9" Street N.W.
Washington, DC 20004

Page 3 of 3
 

 

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